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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH H. LEWIS, JR.,                        :
                Plaintiff,                   :          CIVIL ACTION
                                             :
              v.                             :
                                             :
UNIVERSITY OF PENNSYLVANIA,                  :          No. 16-5874
               Defendant.                    :


                                       ORDER

       AND NOW, this 29th day of January, 2018, upon consideration of Defendants’ Motion

for Summary Judgment (Doc. No. 14), Defendant’s Exhibits to Motion for Summary Judgment

(Doc. No. 15), Plaintiff’s Response in Opposition (Doc. No. 21), Plaintiff’s Supplemental

Summary Judgment Opposition Brief (Doc. No. 27), Defendant’s Reply Memorandum in

Support of Motion (Doc. No. 28), Plaintiff’s Supplemental Summary Judgment Opposition Brief

(Doc. No. 30), Defendant’s Supplemental Memorandum in Support of Motion for Summary

Judgment (Doc No. 32), and oral argument held on October 4, 2017, it is hereby ORDERED

that the Defendant’s Motion for Summary Judgment (Doc. No. 14) is GRANTED IN PART and

DENIED IN PART as outlined in the Court’s January 29, 2018 memorandum.



                                                 BY THE COURT:

                                                 S/Gene E.K. Pratter
                                                 GENE E.K. PRATTER
                                                 UNITED STATES DISTRICT JUDGE
